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 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                              Case No.:
      JOHN LEE,
11                 Plaintiff,                   COMPLAINT FOR INJUNCTIVE
                                                RELIEF AND DAMAGES FOR DENIAL
12          vs.                                 OF CIVIL RIGHTS OF A DISABLED
                                                PERSON IN VIOLATIONS OF
13
                                                1. AMERICANS WITH DISABILITIES;
14
      ROMIDOD, INC. D/B/A KFC; MARY             2. CALIFORNIA’S UNRUH CIVIL
15    ANN THIELMANN, AS TRUSTEE OF              RIGHTS ACT;
16    THE THIELMANN FAMILY TRUST;               3. CALIFORNIA’S DISABLED
      DOES 1 to 10,                             PERSONS ACT;
17
                   Defendants.                  4. CALIFORNIA HEALTH & SAFETY
18                                              CODE;
19                                              5. NEGLIGENCE
20
21
22
23
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25
            Plaintiff JOHN LEE (“Plaintiff”) complains of Defendants ROMIDOD, INC.
26
      D/B/A KFC; MARY ANN THIELMANN, AS TRUSTEE OF THE THIELMANN
27
      FAMILY TRUST; DOES 1 to 10 (“Defendants”) and alleges as follows:
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                                         COMPLAINT - 1
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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3    wheelchair-bound and requires the use of a wheelchair at all times when traveling.
 4            2.   Defendants are, or were at the time of the incident, the real property owners,
 5    business operators, lessors and/or lessees of the real property for KFC (“Business”)
 6    located at or about 16161 Leffingwell Rd., Whittier, California.
 7            3.   The true names and capacities, whether individual, corporate, associate or
 8    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 9    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
10    Court to amend this Complaint when the true names and capacities have been
11    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
12    fictitiously named Defendants are responsible in some manner, and therefore, liable to
13    Plaintiff for the acts herein alleged.
14            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
15    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
16    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
17    the things alleged herein was acting with the knowledge and consent of the other
18    Defendants and within the course and scope of such agency or employment relationship.
19            5.   Whenever and wherever reference is made in this Complaint to any act or
20    failure to act by a defendant or Defendants, such allegations and references shall also be
21    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
22    and severally.
23                                  JURISDICTION AND VENUE
24            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
25    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
26    seq.)
27            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
28    arising from the same nucleus of operating facts, are also brought under California law,



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 1    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2    54, 54., 54.3 and 55.
 3          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4          9.     Venue is proper in this court pursuant to 28 USC §1391(b). Defendants
 5    reside in this district, Orange County, California.
 6                                  FACTUAL ALLEGATIONS
 7          10.    In or about April of 2022, Plaintiff went to the Business.
 8          11.    The Business is a restaurant business establishment, open to the public, and
 9    is a place of public accommodation and affects commerce through its operation.
10    Defendants provide parking spaces for customers.
11          12.    While attempting to enter the Business during each visit, Plaintiff personally
12    encountered a number of barriers that interfered with his ability to use and enjoy the
13    goods, services, privileges, and accommodations offered at the Business.
14          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
15    included, but were not limited to, the following:
16                 a.     Defendants failed to comply with the federal and state standards for
17                        the parking space designated for persons with disabilities. Defendants
18                        failed to post required signage such as “Minimum Fine $250,” “Van
19                        Accessible” and “Unauthorized Parking”
20                 b.     Defendant failed to maintain the parking space designated for persons
21                        with disabilities to comply with the federal and state standards.
22                        Defendants failed to provide the access aisles with level surface
23                        slopes.
24          14.    These barriers and conditions denied Plaintiff the full and equal access to the
25    Business and caused him difficulty and frustration. Plaintiff wishes to patronize the
26    Business, however, Plaintiff is deterred from visiting the Business because his knowledge
27    of these violations prevents him from returning until the barriers are removed.
28




                                            COMPLAINT - 3
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 1          15.    Based on the violations, Plaintiff alleges, on information and belief, that
 2    there are additional barriers to accessibility at the Business after further site inspection.
 3    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 4    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 5          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 6    knew that particular barriers render the Business inaccessible, violate state and federal
 7    law, and interfere with access for the physically disabled.
 8          17.    At all relevant times, Defendants had and still have control and dominion
 9    over the conditions at this location and had and still have the financial resources to
10    remove these barriers without much difficulty or expenses to make the Business
11    accessible to the physically disabled in compliance with ADDAG and Title 24
12    regulations. Defendants have not removed such barriers and have not modified the
13    Business to conform to accessibility regulations.
14                                    FIRST CAUSE OF ACTION
15        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
16          18.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
19    shall be discriminated against on the basis of disability in the full and equal enjoyment of
20    the goods, services, facilities, privileges, advantages, or accommodations of any place of
21    public accommodation by any person who owns, leases, or leases to, or operates a place
22    of public accommodation. See 42 U.S.C. § 12182(a).
23          20.    Discrimination, inter alia, includes:
24                 a.     A failure to make reasonable modification in policies, practices, or
25                        procedures, when such modifications are necessary to afford such
26                        goods, services, facilities, privileges, advantages, or accommodations
27                        to individuals with disabilities, unless the entity can demonstrate that
28                        making such modifications would fundamentally alter the nature of



                                             COMPLAINT - 4
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 1                     such goods, services, facilities, privileges, advantages, or
 2                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3               b.    A failure to take such steps as may be necessary to ensure that no
 4                     individual with a disability is excluded, denied services, segregated or
 5                     otherwise treated differently than other individuals because of the
 6                     absence of auxiliary aids and services, unless the entity can
 7                     demonstrate that taking such steps would fundamentally alter the
 8                     nature of the good, service, facility, privilege, advantage, or
 9                     accommodation being offered or would result in an undue burden. 42
10                     U.S.C. § 12182(b)(2)(A)(iii).
11               c.    A failure to remove architectural barriers, and communication barriers
12                     that are structural in nature, in existing facilities, and transportation
13                     barriers in existing vehicles and rail passenger cars used by an
14                     establishment for transporting individuals (not including barriers that
15                     can only be removed through the retrofitting of vehicles or rail
16                     passenger cars by the installation of a hydraulic or other lift), where
17                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
18               d.    A failure to make alterations in such a manner that, to the maximum
19                     extent feasible, the altered portions of the facility are readily
20                     accessible to and usable by individuals with disabilities, including
21                     individuals who use wheelchairs or to ensure that, to the maximum
22                     extent feasible, the path of travel to the altered area and the
23                     bathrooms, telephones, and drinking fountains serving the altered
24                     area, are readily accessible to and usable by individuals with
25                     disabilities where such alterations to the path or travel or the
26                     bathrooms, telephones, and drinking fountains serving the altered
27                     area are not disproportionate to the overall alterations in terms of cost
28                     and scope. 42 U.S.C. § 12183(a)(2).



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 1          21.    Where parking spaces are provided, accessible parking spaces shall be
 2    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 3    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 4    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 5    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 6    be van parking space. 2010 ADA Standards § 208.2.4.
 7          22.    Under the ADA, the method and color of marking are to be addressed by
 8    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 9    Building Code (“CBC”), the parking space identification signs shall include the
10    International Symbol of Accessibility. Parking identification signs shall be reflectorized
11    with a minimum area of 70 square inches. Additional language or an additional sign
12    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
13    parking space identification sign shall be permanently posted immediately adjacent and
14    visible from each parking space, shall be located with its centerline a maximum of 12
15    inches from the centerline of the parking space and may be posted on a wall at the
16    interior end of the parking space. See CBC § 11B-502.6, et seq.
17          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
18    each entrance to an off-street parking facility or immediately adjacent to on-site
19    accessible parking and visible from each parking space. The additional sign shall not be
20    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
21    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
22    designated accessible spaces not displaying distinguishing placards or special license
23    plates issued for persons with disabilities will be towed always at the owner’s expense…”
24    See CBC § 11B-502.8, et seq.
25          24.    Here, Defendants failed to provide signs stating “Minimum Fine $250” and
26    “Van Accessible.” Moreover, Defendants failed to provide the additional sign with the
27    specific languages stating “Unauthorized vehicles parked in designated accessible spaces
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                                            COMPLAINT - 6
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 1    not displaying distinguishing placards or special license plates issued for persons with
 2    disabilities will be towed always at the owner’s expense…”
 3          25.      Under the 1991 Standards, parking spaces and access aisles must be level
 4    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 5    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 6    shall be part of an accessible route to the building or facility entrance and shall comply
 7    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 8    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 9    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
10    directions. 1991 Standards § 4.6.3.
11          26.      Here, the access aisle is not level with the parking space. Under the 2010
12    Standards, access aisles shall be at the same level as the parking spaces they serve.
13    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
14    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
15    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
16          27.      A public accommodation shall maintain in operable working condition those
17    features of facilities and equipment that are required to be readily accessible to and usable
18    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
19          28.      By failing to maintain the facility to be readily accessible and usable by
20    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
21    regulations.
22          29.      The Business has denied and continues to deny full and equal access to
23    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
24    discriminated against due to the lack of accessible facilities, and therefore, seeks
25    injunctive relief to alter facilities to make such facilities readily accessible to and usable
26    by individuals with disabilities.
27    //
28    //



                                              COMPLAINT - 7
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 1                                  SECOND CAUSE OF ACTION
 2                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 3          30.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 6    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 7    national origin, disability, medical condition, genetic information, marital status, sexual
 8    orientation, citizenship, primary language, or immigration status are entitled to the full
 9    and equal accommodations, advantages, facilities, privileges, or services in all business
10    establishments of every kind whatsoever.”
11          32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
12    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
13    for each and every offense for the actual damages, and any amount that may be
14    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
15    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
16    attorney’s fees that may be determined by the court in addition thereto, suffered by any
17    person denied the rights provided in Section 51, 51.5, or 51.6.
18          33.    California Civil Code § 51(f) specifies, “a violation of the right of any
19    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
20    shall also constitute a violation of this section.”
21          34.    The actions and omissions of Defendants alleged herein constitute a denial
22    of full and equal accommodation, advantages, facilities, privileges, or services by
23    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
24    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
25    51 and 52.
26          35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
27    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
28    damages as specified in California Civil Code §55.56(a)-(c).



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 1                                  THIRD CAUSE OF ACTION
 2                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 3          36.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 6    entitled to full and equal access, as other members of the general public, to
 7    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 8    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 9    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
10    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
11    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
12    places of public accommodations, amusement, or resort, and other places in which the
13    general public is invited, subject only to the conditions and limitations established by
14    law, or state or federal regulation, and applicable alike to all persons.
15          38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
16    corporation who denies or interferes with admittance to or enjoyment of public facilities
17    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
18    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
19    the actual damages, and any amount as may be determined by a jury, or a court sitting
20    without a jury, up to a maximum of three times the amount of actual damages but in no
21    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
22    determined by the court in addition thereto, suffered by any person denied the rights
23    provided in Section 54, 54.1, and 54.2.
24          39.    California Civil Code § 54(d) specifies, “a violation of the right of an
25    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
26    constitute a violation of this section, and nothing in this section shall be construed to limit
27    the access of any person in violation of that act.
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 1           40.    The actions and omissions of Defendants alleged herein constitute a denial
 2     of full and equal accommodation, advantages, and facilities by physically disabled
 3     persons within the meaning of California Civil Code § 54. Defendants have
 4     discriminated against Plaintiff in violation of California Civil Code § 54.
 5           41.    The violations of the California Disabled Persons Act caused Plaintiff to
 6     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 7     statutory damages as specified in California Civil Code §55.56(a)-(c).
 8                                  FOURTH CAUSE OF ACTION
 9                  CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
10           42.    Plaintiff incorporates by reference each of the allegations in all prior
11     paragraphs in this complaint.
12           43.    Plaintiff and other similar physically disabled persons who require the use of
13     a wheelchair are unable to use public facilities on a “full and equal” basis unless each
14     such facility is in compliance with the provisions of California Health & Safety Code §
15     19955 et seq. Plaintiff is a member of the public whose rights are protected by the
16     provisions of California Health & Safety Code § 19955 et seq.
17           44.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
18     that public accommodations or facilities constructed in this state with private funds
19     adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
20     Title 1 of the Government Code. The code relating to such public accommodations also
21     require that “when sanitary facilities are made available for the public, clients, or
22     employees in these stations, centers, or buildings, they shall be made available for
23     persons with disabilities.
24           45.    Title II of the ADA holds as a “general rule” that no individual shall be
25     discriminated against on the basis of disability in the full and equal enjoyment of goods
26     (or use), services, facilities, privileges, and accommodations offered by any person who
27     owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
28     Further, each and every violation of the ADA also constitutes a separate and distinct



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 1     violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 2     award of damages and injunctive relief pursuant to California law, including but not
 3     limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 4                                     FIFTH CAUSE OF ACTION
 5                                           NEGLIGENCE
 6            46.    Plaintiff incorporates by reference each of the allegations in all prior
 7     paragraphs in this complaint.
 8            47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 9     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
10     to the Plaintiff.
11            48.    Defendants breached their duty of care by violating the provisions of ADA,
12     Unruh Civil Rights Act and California Disabled Persons Act.
13            49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
14     has suffered damages.
15                                       PRAYER FOR RELIEF
16            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
17     Defendants as follows:
18            1.     For preliminary and permanent injunction directing Defendants to comply
19     with the Americans with Disability Act and the Unruh Civil Rights Act;
20            2.     Award of all appropriate damages, including but not limited to statutory
21     damages, general damages and treble damages in amounts, according to proof;
22            3.     Award of all reasonable restitution for Defendants’ unfair competition
23     practices;
24            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
25     action;
26            5.     Prejudgment interest pursuant to California Civil Code § 3291; and
27            6.     Such other and further relief as the Court deems just and proper.
28     //



                                              COMPLAINT - 11
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 1                                DEMAND FOR TRIAL BY JURY
 2           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3     demands a trial by jury on all issues so triable.
 4
 5     Dated: June 15, 2022                    SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                             By:    _/s/ Jason J. Kim_______________
                                                      Jason J. Kim, Esq.
 9                                                    Attorneys for Plaintiff
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                                             COMPLAINT - 12
